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EDOK - Search Warrant PAGE 2


                                                        RETURN
   Case No.:                   Date and time warrant executed:     Copy of warrant and inventory left with:


   Inventory made in the presence of:


   Inventory of the property taken and name of any person(s) seized:




                                                 CERTIFICATION

         I declare under penalty of perjury that this inventory is correct and was returned along with the
   original warrant to the designated judge.


   Date: ________________                                 ________________________________________
                                                                Executing officer’s signature


                                                          ________________________________________
                                                                Printed name and title
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                                       ATTACHMENT A

                                    Property To Be Searched

          This warrant applies to records and information associated with Google Account ID

                                      that is held by and stored at premises controlled by Google

   LLC, headquartered in Mountain View, California.
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                                          ATTACHMENT B

                                      Particular Items to Be Seized

   I.     Information to be Disclosed by Google

          Google LLC shall disclose the following information or records pertaining to the

   SUSPECT ACCOUNT within its possession, custody, or control, including any information or

   records that have been deleted by the subscriber but still available to Google, from a time period

   starting on 03-18-21 at 10:00am (CST) until 03-25-21 at 10:00pm (CST):

          (1) Google account identifier and basic subscriber information;

          (2) Location History data for the Suspect Account during the specified time frame,

              sourced from information including GPS data and information about visible wi-fi

              points and Bluetooth beacons transmitted to Google, including the date and time,

              latitude and longitude, source, and display radius of each location datapoint;

          (3) All wire or electronic or wire communications sent, received, drafted, or generated by

              the Suspect Account during the specified time frame, including but not limited to text

              messages, media messages, VoIP (voice over Internet Protocol) calls, instant

              messages, or emails, including the date and time of the communication, the content of

              the communication, method of communication, the source and destination of the

              communication;

          (4) All visual depictions, such as photos or videos, sent, received, drafted, or generated

              by the Suspect Account during the specified time frame; and

          (5) Any browsing history or search queries generated by the Suspect Account during the

              specified time frame.
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                  Google LLC shall provide said information and records with an affidavit or sworn

          declaration certifying the authenticity of said records in accordance with Rule 902(11) of

          the Federal Rules of Evidence.



   II.    Information to be Seized by the Government

          All information described above in Section I that constitutes evidence of violations of Title

   18, United States Code Sections 13, 1151, and 1152 as well as a violation of Title 47, Oklahoma

   Statutes, Section 10-102.1 on March 18, 2021 involving unknown person(s).

          Law enforcement personnel (who may include, in addition to law enforcement officers

   and agents, attorneys for the government, attorney support staff, agency personnel assisting the

   government in this investigation, and outside technical experts under government control) are

   authorized to review the records produced by the Provider in order to locate the things

   particularly described in this Warrant.
